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                       1   Andrew P.P. Dunk III (CA Bar No. 134975)
                           APDunkIII@scif.com
                       2   Linda S. Platisha (CA Bar No. 195281)
                           LSPlatisha@scif.com
                       3   Gina Marie Ong (CA Bar No. 204137)
                           gmong@scif.com
                       4   STATE COMPENSATION INSURANCE FUND
                           1750 E. Fourth Street, Fifth Floor
                       5   Santa Ana, CA 92705
                           Tel: 714-347-6130 / Fax: 714-347-6145
                       6
                           Attorneys for Plaintiff
                       7   STATE COMPENSATION INSURANCE FUND, a Public
                           Enterprise Fund and Independent Agency of the State of
                       8   California
                       9
                  10                            UNITED STATES DISTRICT COURT
                  11            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                  12
                  13       STATE COMPENSATION                         Case No.8:15-cv-01279 AG(JCGx)
                           INSURANCE FUND, a Public
                  14       Enterprise Fund and Independent            Honorable Andrew J. Guilford
                           Agency of the State of California,
                  15                                                  REPORT OF SETTLEMENT
                                       Plaintiff,                     BETWEEN PLAINTIFF STATE
                  16                                                  COMPENSATION INSURANCE
                                 v.                                   FUND AND DEFENDANTS
                  17                                                  RUSSELL NELSON, MD AND
                           DANIEL CAPEN. an individual, et al.,       RUSSELL SPINE INSTITUTE, INC.
                  18
                                       Defendants.
                  19                                                  [Pursuant to Local Rule 16-15.7]
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     STATE
 COMPENSATION                                                     1
INSURANCE FUND
  CORPO RATE L EGA L                    REPORT OF SETTLEMENT BETWEEN STATE FUND AND NELSON
     SANTA A NA
             Case 8:15-cv-01279-AG-JCG Document 270 Filed 07/19/16 Page 2 of 2 Page ID #:5297



                       1
                           TO THE HONORABLE ANDREW J. GUILFORD, UNITED STATES
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                           DISTRICT JUDGE:
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                                 Plaintiff State Compensation Insurance Fund (“State Fund”) respectfully
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                           submits this Report of Settlement pursuant to Local Rule 16-15.7.
                       5
                                 State Fund and Defendants Russell Nelson, MD and Russell Spine Institute,
                       6
                           Inc. have reached a settlement. This settlement is contingent on a good faith
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                           settlement determination by the Court. State Fund and Defendants have agreed
                       8
                           that, with the Court’s permission, this case is stayed as to Defendant Russell
                       9
                           Nelson, MD and Russell Spine Institute, Inc. pending outcome of the good faith
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                           settlement determination, the application for which is forthcoming.
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                  12
                           Dated: July 19, 2016
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                                                           Respectfully submitted.
                  14
                                                           STATE COMPENSATION INSURANCE FUND
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                  16
                                                           By: /s/Linda Platisha
                  17                                              Linda Platisha
                  18                                              Attorneys for Plaintiff
                                                                  State Compensation Insurance Fund
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     STATE
 COMPENSATION                                                       2
INSURANCE FUND
  CORPO RATE L EGA L                    REPORT OF SETTLEMENT BETWEEN STATE FUND AND NELSON
     SANTA A NA
